                        IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 11-0541
                              ((((((((((((((((

                           Dynegy Inc., Petitioner

                                     v.

     TERRY W. YATES, INDIVIDUALLY AND TERRY W. YATES, P.C., Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    Pursuant to the notice of  bankruptcy  of  Dynegy,  Inc.,  filed
with this Court on July 6, 2012 this case is ABATED effective as of July  6,
2012.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper  motion.  Tex.  R.  App.  P.  8.3.  All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
The Court directs the parties to notify the Court of  all  events  affecting
the status of this case, and, in any event,  to  file  a  status  report  by
January 14, 2013.

      Done at the City of Austin, this 13th day of July, 2012.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




